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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

                                                           :
                                                           :
  IN RE: CAPITAL ONE CUSTOMER DATA                         :    MDL No. 1:19-md-2915 (AJT/JFA)
  SECURITY BREACH LITIGATION                               :
                                                           :
                                                           :

                     LIMITED OBJECTION OF PIERCE
                BAINBRIDGE BECK PRICE AND HECHT LLP TO
       APPLICATIONS FOR APPOINTMENT AS PLAINTIFFS’ LEAD COUNSEL

         Yavar Bathaee and Brian Dunne of Pierce Bainbridge Beck Price & Hecht LLP respectfully

 submit this limited objection to the applications for lead counsel submitted by: (1) Norman E.

 Siegel (ECF No. 136), Karen Hanson Riebel (ECF No. 135), and John Yanchunis (ECF No. 140)

 (collectively, the “Siegel slate”); (2) Douglas J. McNamara, Amy E. Keller, and James J.

 Pizzirusso (ECF No. 148) (the “Cohen-Hausfeld slate”); and (3) Rosemary M. Rivas and Gayle

 M. Blatt (ECF No. 149) (the “Rivas-Blatt slate”) (collectively, “the Objected-To Slates”).

 Although we have no specific objection to any counsel being involved in this litigation, these

 applications reflect a troublesome “repeat player” dynamic that plagues multi-district litigation

 and does not best serve the plaintiffs and the Class.

         Of the more than sixty (60) cases assigned to this MDL, there are two very distinct types

 of complaints against Capital One and/or Amazon: (1) complaints that identify discrete, past

 misconduct (frequently negligence) that led to a data breach; and (2) complaints that identify

 ongoing, willful fraud by Amazon and Capital One regarding particular, well-known security

 vulnerabilities baked into the architecture of Amazon’s cloud services platform. The two distinct

 types of cases target different types and amounts of relief, rely upon different liability-creating acts

 by Defendants, and come from distinct areas of law.
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        Therefore, a unified Steering Committee led solely by a slate of lawyers who have

 advanced primarily negligence-based claims for past misconduct would leave the victims of

 Capital One and Amazon’s ongoing fraud without adequate representation. The Objected-to-Slates

 come from a small pool of repeat-player data breach attorneys, and the old adage, “to a hammer,

 everything looks like a nail,” is apt. See Guidelines and Best Practices for Large and Mass-Tort

 MDLs, BOLCH JUDICIAL INSTITUTE, Duke Law School, at 37 (2d ed. Sept. 2018) (recognizing that

 a “repeat player dynamic” reduces “fresh outlooks and innovative ideas, and increases pressure to

 go along with the group and conform, all of which may negatively impact the plaintiffs whose

 cases are being pursued in the MDL”). Here, the plaintiffs and the Class in this MDL would not

 be well served by a slate of only repeat players who have largely ignored fraud claims and have

 missed or glossed over the ongoing vulnerabilities that exist to this day in Capital One’s AWS-

 hosted applications.

        Of course, we are ready and willing to work with any of the attorneys listed above.

 However, we respectfully submit that our approach to this case and our ideas would immensely

 benefit the plaintiffs and the Class. 1 As this case proceeds, it will be vitally important for lead

 counsel to be readily conversant with the unique legal and factual issues presented by the MDL’s

 ongoing fraud claims, including the technical issues set forth in the Complaint. It will be equally

 important for the person or persons representing the ongoing fraud claims at the Steering

 Committee to be able and willing to speak freely and directly regarding strategic issues.




 1
   To the extent that other applicants boast of their geographic diversity, Pierce Bainbridge spans
 the country, with attorneys on both coasts. Indeed, the two attorneys leading our effort in this case,
 Messrs. Bathaee and Dunne, operate out of our New York and Los Angeles offices, respectively.
 In addition, our Washington, D.C. office is deeply involved in this matter, including two attorneys
 who are admitted and experienced in the Eastern District of Virginia.
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        We therefore object to the above-referenced slates on the limited grounds stated herein.

 And, we respectfully ask the Court to appoint the Pierce Bainbridge attorneys as Co-Lead or

 Steering Committee Counsel to protect the hundreds of millions of consumers whose personal

 information is still at risk due to Defendants’ fraud.

 Dated: November 25, 2019                       Respectfully submitted,

                                                /s/ Yavar Bathaee

                                                Yavar Bathaee (admitted pro hac vice)
                                                David Hecht (admitted pro hac vice)
                                                Maxim Price (admitted pro hac vice)
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                                    /s/ Andrew M. Williamson
                                    Andrew M. Williamson (VSB No. 83366)
                                    Carolynn Beck (admission forthcoming)
                                    Andrew J. Pecoraro (VSB No. 92455)
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                                    Susan Corley, Lynn Fields, Kimberly Hernandez,
                                    Kristina Mentone, Mark Miller, Mordechai Nemes,
                                    Ryan Olsen, Debra Potzgo, Shawn Spears, Janett
                                    Stout, Cole Studebaker, and Jonathan Wong, each
                                    individually and on behalf of all others similarly
                                    situated.




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                                  CERTIFICATE OF SERVICE
         I hereby certify that on the 25th day of November, 2019, I caused a copy of the foregoing
 to be e-filed and served via the Court’s electronic filing system to all parties and counsel receiving
 electronic service.




                                                               /s/ Andrew M. Williamson
                                                               Andrew M. Williamson
